                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                     )
                                                               )   Chapter 11
                                      1
    PES HOLDINGS, LLC, et al.,                                 )
                                                               )   Case No. 19-11626 (LSS)
                             Debtors.                          )
                                                               )   (Jointly Administered)
                                                               )
                                                               )
    PES HOLDINGS, LLC, et al.,                                 )
                                                               )   Adversary Proceeding
                             Plaintiffs,                       )
                                                               )   Case No. 20-50454 (MFW)
                           -and-                               )
                                                               )
    ICBC STANDARD BANK PLC,                                    )
                                                               )
                             Intervenor-Plaintiff,             )
                                                               )
                             v.                                )
                                                               )
    ALLIANZ GLOBAL RISKS US INSURANCE                          )
    CO., et al.,                                               )
                                                               )
                             Defendants.                       )
                                                               )

              JOINT NOTICE OF COMPLETION OF BRIEFING REGARDING
                               MOTIONS IN LIMINE

                  PLEASE TAKE NOTICE that Plaintiffs PES Holdings, LLC, North Yard GP,

LLC, North Yard Logistics, L.P., PES Administrative Services, LLC, PES Energy, Inc., PES

Intermediate, LLC, PES Ultimate Holdings, LLC, and Philadelphia Energy Solutions Refining

and Marketing LLC (collectively “PES”) and the Insurers, the defendants in this adversary



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574).
proceeding (collectively, the “Parties”), hereby provide notice that briefing has been completed

with respect to the Parties’ motions in limine filed at Adv. Docket Nos. 230, 234, 239, and 259,

(collectively, the “Motions”). Below is a list of all relevant pleadings and docket numbers filed

and related to the Motions.

                 PLEASE TAKE FURTHER NOTICE THAT the Parties have conferred and

agree that the exhibits to PES’s Opposition to Defendant Insurers’ Omnibus Non-Expert Motion

in Limine [Adv. Docket No. 283], which exhibits are attached to the Declaration of Chelsea L.

Ireland in Opposition to Plaintiffs’ Opposition to Insurers’ Omnibus Non-Expert Motion in

Limine [Adv. Docket No. 284] are a representative sample of the reserve and reinsurance

documents.2




2
 The Parties have agreed to forgo any replies relating to the Defendant Insurers’ Omnibus Non-Expert Motion in
Limine [Adv. Docket No. 259].


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Tab No.   Date Filed     Adv.                             Pleading
                       Docket No.

PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT REPORT AND TESTIMONY
                       OF JONATHAN HELD

 1.       11/12/21        230       Plaintiffs' Motion to Exclude the Expert Report and
                                    Testimony of Jonathan Held

 2.       11/12/21        231       Memorandum of Law in Support of Plaintiffs' Motion
                                    to Exclude the Expert Report and Testimony of
                                    Jonathan Held

 3.       11/12/21        232       Declaration of Nicholas R. Maxwell in Support of
                                    Plaintiffs' Motion to Exclude the Expert Report and
                                    Testimony of Jonathan Held

 4.       12/10/21        274       Memorandum of Law In Opposition To Plaintiffs'
                                    Motion to Exclude The Report and Testimony of
                                    Jonathan Held

 5.       12/20/21        285       Reply Memorandum of Law in Further Support of
                                    Plaintiffs' Motion to Exclude the Report and
                                    Testimony of Jonathon Held

  DEFENDANT INSURERS’ MOTION TO STRIKE PORTIONS OF THOMAS
 BRINDLEY’S REPORTS AND TO PRECLUDE HIS TESTIMONY ON CERTAIN
                            TOPICS

   6.     11/12/21        234       Defendant Insurers’ Motion to Strike Portions of
                                    Thomas Brindley’s Reports and to Preclude His
                                    Testimony on Certain Topics

   7.      12/6/21        235       Memorandum of Law in Support of Defendant
                                    Insurers’ Motion to Strike Portions of Thomas
                                    Brindley’s Reports and to Preclude His Testimony on
                                    Certain Topics

   8.     12/10/21        275       Memorandum of Law in Opposition to Defendants'
                                    Motion to Strike Portions of Thomas Brindley's
                                    Reports and to Preclude His Testimony on Certain
                                    Topics

   9.     12/10/21        276       Declaration of Nicholas R. Maxwell in Opposition to
                                    Defendant Insurers' Motion to Strike Portions of
                                    Thomas Brindley's Reports and to Preclude His
                                    Testimony on Certain Topics


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  10.   12/20/21    286    Reply Memorandum of Law in Support of Motion to
                           Strike Portions of Thomas Brindley's Reports And To
                           Preclude His Testimony on Certain Topics

DEFENDANT INSURERS’ MOTION TO STRIKE EXPERT REPORT OF OLIE R.
 JOLSTAD AND REPLY BY OLIE R. JOLSTAD TO THE JULY 8, 2021 EXPERT
 REBUTTAL REPORT OF DALE S. FREDIANI, SR. AND TO THE JULY 8, 2021
    EXPERT REPORT OF JONATHON C. HELD AND TO PRECLUDE HIS
                          TESTIMONY

  11.   11/12/21    239    Defendant Insurers’ Motion to Strike Expert Report
                           of Olie R. Jolstad And Reply By Olie R. Jolstad To
                           The July 8, 2021 Expert Rebuttal Report Of Dale S.
                           Frediani, SR. And To The July 8, 2021 Expert Report
                           of Jonathon C. Held And To Preclude His Testimony

  12.   11/12/21    240    Memorandum of Law In Support of Motion to Strike
                           Expert Report of Olie R. Jolstad and Reply by Olie
                           R. Jolstad to the July 8, 2021 Expert Rebuttal Report
                           of Dale S. Frediani, SR. and to the July 8, 2021
                           Expert Report of Jonathon C. Held and to Preclude
                           His Testimony

  13.   12/10/21    277    Memorandum of Law in Opposition to Defendant
                           Insurers' Motion to Strike Expert Report of Olie R.
                           Jolstad and Reply By Olie R. Jolstad to the July 8,
                           2021 Expert Rebuttal Report of Dale S. Frediani, Sr.
                           and to the July 8, 2021 Expert Report of Jonathan C.
                           Held and to Preclude His Testimony

  14.   12/20/21    287    Reply Memorandum of Law in Support of Motion to
                           Strike Expert Report of Olie R. Jolstad And Reply By
                           Olie R. Jolstad To The July 8, 2021 Expert Rebuttal
                           Report Of Dale S. Frediani, SR. And To The July 8,
                           2021 Expert Report of Jonathon C. Held And To
                           Preclude His Testimony

 DEFENDANT INSURERS’ OMNIBUS NON-EXPERT MOTIONS IN LIMINE

  15.   12/3/21     259    Defendant Insurers’ Omnibus Non-Expert Motion in
                           Limine

  16.   12/17/21    283    [Sealed] Plaintiff’s Opposition to Defendant Insurers’
                           Omnibus Non-Expert Motion in Limine

  17.   12/17/21    284    [Sealed] Declaration of Chelsea L. Ireland in
                           Opposition to Plaintiffs’ Opposition to Insurers’


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                                     Omnibus Non-Expert Motion in Limine


Dated: December 29, 2021    /s/ Peter J. Keane
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